870 F.2d 655Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Larry Ray JOHNSON, Plaintiff-Appellant,v.L.B. Cie, J.A. SMITH, Bobby Soles, J. Keeling, Defendants-Appellees.
    No. 88-6866.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 27, 1989.Decided March 7, 1989.
    
      Larry Ray Johnson, appellant pro se.
      Richard Francis Gorman, III, Office of the Attorney General, for appellees.
      Before DONALD RUSSELL and WIDENER, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Larry Ray Johnson appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Johnson v. Cie, C/A No. 87-143-L (W.D.Va. Nov. 4, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    